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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


ADRIANA RIVERA,                   :
                                  :
     Plaintiff,                   :
                                  :
v.                                :         No.   3:06CV00531(DJS)
                                  :
CORPORATE RECEIVABLES, INC.,      :
                                  :
          Defendant.              :


                        MEMORANDUM OF DECISION

     Plaintiff Adriana Rivera ("Rivera") filed this action

against defendant Corporate Receivables, Inc. ("CRI"), alleging a

violation of the Fair Debt Collection Practices Act, 15 U.S.C. §

1692 et seq.   Plaintiff also brought a state law claim for

intentional infliction of emotional distress.           Now before the

court is CRI’s motion to dismiss (dkt. # 13) plaintiff's claim

for intentional infliction of emotional distress.             For the

reasons set forth herein, defendant's motion (dkt. # 13) is

DENIED.

                                I. FACTS

     The facts are drawn from Rivera's Complaint and are accepted

as true for purposes of ruling on the pending motion to dismiss.

Rivera and her grandson cosigned a credit card account, which was

used to purchase a motorcycle.        In late 2005, CRI began

contacting plaintiff by telephone regarding the collection of the


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unpaid credit card account.        Rivera disputed the debt and told

the CRI representative that it was her grandson’s account and

that she was not able to pay the amount owed.             Defendant then

threatened to have Rivera arrested and informed her that she

would go to jail if she did not pay the debt.             Rivera claims that

CRI continued to call her and to threaten her multiple times each

day.    She further alleges that CRI called her with the intent to

annoy, abuse, and harass her and to cause her distress.                In

addition, she asserts that the frequency of the calls and threats

caused her distress and exacerbated her blood pressure, diabetes,

and ulcers.

                                II. DISCUSSION

       Rivera sets forth two causes of action in her complaint.

Pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, CRI moves to dismiss the Second Count of plaintiff’s

complaint.

                                 A. STANDARD

          When considering a 12(b)(6) motion to dismiss, the court

accepts as true all factual allegations in the complaint and

draws inferences from these allegations in the light most

favorable to the plaintiff.        See Scheuer v. Rhodes, 416 U.S. 232,

236 (1974); Bernheim v. Litt, 79 F.3d 318, 321 (2d Cir. 1996).

Dismissal is warranted only if, under any set of facts that the

plaintiff can prove consistent with the allegations, it is clear


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that no relief can be granted. See Hishon v. King & Spaulding,

467 U.S. 69, 73 (1984); Cooper v. Parsky, 140 F.3d 433, 440 (2d

Cir. 1998).    "The issue on a motion to dismiss is not whether the

plaintiff will prevail, but whether the plaintiff is entitled to

offer evidence to support his or her claims." United States v.

Yale New Haven Hosp., 727 F. Supp. 784, 786 (D. Conn. 1990)

(citing Scheuer, 416 U.S. at 232).      In its review of a motion to

dismiss, the court may consider "only the facts alleged in the

pleadings, documents attached as exhibits or incorporated by

reference in the pleadings and matters of which judicial notice

may be taken."    Samuels v. Air Transport Local 504, 992 F.2d 12,

15 (2d Cir. 1993).

           B. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        Rivera has stated a claim upon which relief may be

granted.    Intentional infliction of emotional distress is a tort

under Connecticut common law.      To recover damages on a claim of

intentional infliction of emotional distress under Connecticut

law, the plaintiff must show:

     (1) that the actor intended to inflict emotional
     distress; or that he knew or should have known that
     emotional distress was a likely result of his conduct;
     (2) that the conduct was extreme and outrageous; (3)
     that the defendant's conduct was the cause of the
     plaintiff's distress; and (4) that the emotional
     distress sustained by the plaintiff was severe.


Peytan v. Ellis, 200 Conn. 243, 253 (1986), superseded by statute

on other grounds as recognized in Chadha v. Charlotte Hungerford

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Hosp., 272 Conn. 776 (2005).      Liability exists "only where the

conduct has been so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized

community."   Appleton v. Board of Educ. of Town of Stonington,

254 Conn. 205, 210-211 (2000) (citing 1 Restatement (Second) of

Torts § 46, comment (d) (1965)).        "Mere insults or verbal taunts

do not rise to the level of extreme and outrageous conduct even

when they include obnoxious activity like threats, insults or

taunts."   Ferraro v. Stop & Shop Supermarket Co., No. CV

960388031S, 2000 Conn. Super. LEXIS 1404, at *10-11 (Conn. Super.

May 25, 2000).   Even so, "a very wide range [of] conduct has the

capacity to be found 'extreme and outrageous' enough to

constitute intentional infliction of emotional distress."              Longo

v. Waterbury Hosp. Health Ctr., No. CV030176553S, 2005 WL 407785,

at *2 (Conn. Super. Jan. 14, 2005).         “Whether the defendant’s

conduct and the plaintiff’s resulting distress are sufficient

. . . to satisfy . . . these elements is a question, in the first

instance, for [the] court.     Only where reasonable minds can

differ does it become an issue for the jury.”           Bell v. Board of

Educ., 55 Conn. App. 400, 409-10 (1999) (citation omitted).

     Here, Rivera alleges that CRI intentionally caused her

emotional distress when it called her multiple times each day in

an attempt to collect a debt that she disputed with the


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representative.   She further alleges that defendant knew or

should have known that threatening her with imprisonment would

likely cause her emotional distress.        In addition, she claims

that CRI’s conduct caused her to sustain severe emotional

distress and exacerbated her blood pressure, diabetes, and

ulcers.   CRI counters that plaintiff’s allegations are

insufficient to support a cause of action for intentional

infliction of emotional distress.       According to CRI, even if the

conduct plaintiff complains of is true, this conduct is not

sufficiently “extreme or outrageous” to support a claim for

intentional infliction of emotional distress.

     It would be possible for a reasonable person to conclude

that defendant’s collection tactics are intolerable in a

civilized community.    Although it appears that plaintiff incurred

the debt by cosigning on the credit card account, threatening her

with imprisonment and calling her multiple times each day could

rise to the level of extreme and outrageous conduct.            See Longo,

2005 WL 407785, at *10 (holding that when plaintiff’s intentional

infliction of emotional distress claim was premised upon a

hospital's collection tactics, which included numerous telephone

calls and threats to plaintiff, plaintiff’s claim could survive

hospital’s motion to strike); McHugh v. Check Investors, Inc.,

No. 5:02cv00106, 2003 U.S. Dist. LEXIS 9065, at *11 (W.D. Va. May

21, 2003)(holding that threatening to arrest and imprison a


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plaintiff for nonpayment of an already-satisfied debt was clearly

intended to cause plaintiff severe emotional distress); Fisher v.

Padilla, No. CV064009213S, 2006 WL 2053511, at * 3 (Conn.Super.

June 30, 2006) (denying motion to strike intentional infliction

of emotional claim where plaintiffs alleged that defendant wrote

a letter threatening to have them arrested and then arranged for

a police officer to call the plaintiffs threatening the same,

despite the fact that plaintiffs did not commit a crime); Black

v. Aegis Consumer Funding Group, Inc., No. 99-0412-P-S, 2001 U.S.

Dist. LEXIS 2632, at *24 (S.D. Ala. Feb. 8, 2001) (finding that

creditor’s systematic campaign of harassment and intimidation was

reckless and intentional and caused plaintiff and her family to

suffer anxiety, concern, fear, and mental anguish).            The

allegations in Rivera’s complaint are sufficient to show that CRI

utilized collection tactics that were tasteless and offensive.

It would be possible for a reasonable person to conclude that

CRI's repeated phone calls and threats to have Rivera arrested

were extreme and outrageous.      As such, CRI's motion to dismiss

the intentional infliction of emotional distress claim is denied

without prejudice to raising the issue in a motion for summary

judgment.




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                              III. CONCLUSION

        For the foregoing reasons defendant's to dismiss (dkt. #

13) is DENIED.



        So ordered this 20th day of October, 2006.




                                                 /s/DJS
                                         DOMINIC J. SQUATRITO
                                     UNITED STATES DISTRICT JUDGE




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